                 Case 22-11068-JTD              Doc 24029          Filed 08/30/24         Page 1 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
    In re:
                                                                  Case No. 22-11068 (JTD)
                                       1
    FTX TRADING LTD., et al.,
                                                                  (Jointly Administered)
             Debtors.
                                                                  Ref. Nos. 19068, 22163, 22165



        NOTICE OF (I) EXECUTORY CONTRACTS AND UNEXPIRED LEASES
      PROPOSED TO BE ASSUMED BY THE DEBTORS PURSUANT TO THE JOINT
         CHAPTER 11 PLAN OF REORGANIZATION OF FTX TRADING LTD.
           AND ITS DEBTOR AFFILIATES, (II) CURE AMOUNTS, IF ANY,
         AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

                PLEASE TAKE NOTICE that on June 26, 2024, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) entered the Order (I) Approving the
Adequacy of the Disclosure Statement; (II) Approving Solicitation Packages; (III) Approving the
Forms of Ballots; (IV) Establishing Voting, Solicitation and Tabulation Procedures; and (V)
Establishing Notice and Objection Procedures for the Confirmation of the Plan [D.I. 19068] (the
“Solicitation Procedures Order”). Among other things, the Solicitation Procedures Order approved
voting and solicitation procedures and established the timeline to confirm the Joint Chapter 11
Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates (as may be amended,
modified or supplemented from time to time, the “Plan”) and procedures in connection with the
Debtors’ assumption of Executory Contracts and Unexpired Leases pursuant to the Plan. 2

               PLEASE TAKE FURTHER NOTICE that on August 2, 2024, as contemplated
under the Plan and the Solicitation Procedures Order, the Debtors filed a list of Executory
Contracts and Unexpired Leases the Debtors propose to assume in connection with the Plan (the
“Assumed Executory Contracts and Unexpired Leases Schedule”) as Exhibit 7 to the Notice of
Filing of Plan Supplement [D.I. 22163].

          PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS
NOTICE BECAUSE YOU ARE A PARTY TO A CONTRACT OR LEASE THAT IS
LISTED ON THE ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES
SCHEDULE. THEREFORE, YOU ARE ADVISED TO REVIEW CAREFULLY THE
INFORMATION CONTAINED IN THIS NOTICE (THE “ASSUMPTION NOTICE”)
1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://restructuring.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies
      Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
      Capitalized terms used but not defined in this notice shall have the meaning ascribed to them in the Plan.
               Case 22-11068-JTD               Doc 24029         Filed 08/30/24         Page 2 of 5




AND THE RELATED PROVISIONS OF THE PLAN. The Debtors are proposing to assume
the Executory Contract(s) and Unexpired Lease(s) listed on Exhibit A, attached hereto, to which
you are a party. 3 The Debtors reserve all rights to alter, amend, modify or otherwise supplement
the list of Executory Contract(s) and Unexpired Lease(s) listed on Exhibit A.

               PLEASE TAKE FURTHER NOTICE that section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly cure,
any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtors have conducted a thorough review of their books and records and have
determined the amounts required to cure defaults (the “Cure Amount”), if any, under the Executory
Contract(s) and Unexpired Lease(s), which amounts are listed in Exhibit A, attached hereto.
Please note that if no amount is stated for a particular Executory Contract or Unexpired Lease, the
Debtors believe that there is no Cure Amount outstanding for such contract or lease.

              PLEASE TAKE FURTHER NOTICE that absent any pending dispute, the Cure
Amount identified in Exhibit A attached hereto will be satisfied, pursuant to section 365(b)(1) of
the Bankruptcy Code, by the Debtors’ payment of the Cure Amount in Cash on or as soon as
reasonably practicable after the Effective Date or in the ordinary course of the Debtors’ or Wind
Down Entities’ operations. In the event of a dispute, however, payment of the Cure Amount will
be made following the entry of a final order(s) resolving the dispute and approving the assumption.
Any objection by a non-Debtor Executory Contract or Unexpired Lease counterparty to the
assumption, the proposed cure amount, or the proposed adequate assurance must be filed,
served, and actually received by the Debtors no later than September 13, 2024 at 4:00 p.m.
prevailing Eastern Time (the “Cure Objection Deadline”). If you agree with the Cure Amount
indicated on Exhibit A and have no objection to the assumption of such Executory Contract(s) or
Unexpired Lease(s), you need not take any further action.

               PLEASE TAKE FURTHER NOTICE that any objection to the proposed
assumption of an Executory Contract or Unexpired Lease, the proposed Cure Amount or the
proposed adequate assurance must: (1) be in writing; (2) comply with the Bankruptcy Code, the
Bankruptcy Rules and the Local Rules; (3) set forth the name of the objector, the nature and amount
of the Claim held or asserted by the objector against the Debtors; (4) state the basis and the specific
grounds therefor and (5) be filed with the Court, together with proof of service thereof, and served
upon and received by each of the following parties (collectively, the “Notice Parties”) no later than
the Cure Objection Deadline. UNLESS AN OBJECTION IS TIMELY SERVED AND
3
    Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on this Assumption Notice,
    any subsequent or supplemental Assumption Notice or the Assumed Contracts and Unexpired Leases Schedule,
    nor anything contained in the Plan or each Debtor’s schedule of assets and liabilities, shall constitute an admission
    by or be deemed a determination of the Debtors that any such contract or lease is in fact an Executory Contract
    or Unexpired Lease capable of assumption, that any Wind Down Entity or the Debtors have any liability
    thereunder, or that such Executory Contract or Unexpired Lease is necessarily a binding and enforceable
    agreement. Further, the Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired
    Lease from the Assumed Contracts and Unexpired Leases Schedule and reject such Executory Contract or
    Unexpired Lease pursuant to the terms of the Plan, up until the Effective Date, (b) amend, modify or supplement
    this Cure Notice with an updated Cure Amount for a particular Executory Contract or Unexpired Lease, which
    updated Cure Amount may be lower than the original Cure Amount listed for such Executory Contract or
    Unexpired Lease and (c) dispute any Claim (or Cure Amount) asserted in connection with the assumption of any
    Executory Contract or Unexpired Lease.


                                                           2
           Case 22-11068-JTD        Doc 24029      Filed 08/30/24     Page 3 of 5




FILED IN ACCORDANCE WITH THIS ASSUMPTION NOTICE, IT MAY NOT BE
CONSIDERED AND MAY BE OVERRULED BY THE BANKRUPTCY COURT.


                                       Notice Parties

                 (a) Counsel to the Debtors: (i) Sullivan & Cromwell LLP, 125 Broad Street,
                     New      York,    NY     10004,     Attn:  Andrew     G.   Dietderich
                     (dietdericha@sullcrom.com),          Brian       D.       Glueckstein
                     (gluecksteinb@sullcrom.com)         and    Alexa      J.    Kranzley
                     (kranzleya@sullcrom.com) and (ii) Landis Rath & Cobb LLP, 919 Market
                     Street, Suite 1800, Wilmington, Delaware 19801, Attn: Adam G. Landis
                     (landis@lrclaw.com) and Kimberly A. Brown (brown@lrclaw.com);

                 (b) The Office of the United States Trustee for the District of Delaware, Attn:
                     Linda Richenderfer, Esq. (linda.richenderfer@usdoj.gov);

                 (c) Counsel to the Official Committee of Unsecured Creditors: (i) Paul
                     Hastings LLP, 200 Park Avenue, New York, New York 10166, Attn: Kris
                     Hansen        (krishansen@paulhastings.com) and    Ken     Pasquale
                     (kenpasquale@paulhastings.com) and (ii) Young Conaway Stargatt &
                     Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,
                     Delaware 19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F.
                     Poppiti, Jr. (rpoppiti@ycst.com);

                 (d) Counsel to the Ad Hoc Committee of Non-US Customers of FTX.com: (i)
                     Eversheds Sutherland (US) LLP, 227 West Monroe Street, Suite 6000,
                     Chicago,      Illinois  60606,      Attn:    Erin      E.     Broderick
                     (erinbroderick@eversheds-sutherland.com) and (ii) Morris, Nichols, Arsht
                     & Tunnell LLP, 1201 North Market Street, 16th Floor, Wilmington,
                     Delaware         19801,     Attn:       Matthew        B.        Harvey
                     (mharvey@morrisnichols.com); and

                 (e) Counsel to the Joint Official Liquidators and Foreign Representatives of
                     FTX Digital Markets Ltd.: (i) White & Case LLP, 1221 Avenue of the
                     Americas, New York, New York 10020, Attn: Brett Bakemeyer
                     (brett.bakemeyer@whitecase.com)        and     Brian      D.     Pfeiffer
                     (brain.pfeiffer@whitecase.com) and (ii) Richard, Layton, and Finger P.A.,
                     One Rodney Square, 920 N. King Street, Wilmington, Delaware 19801,
                     Attn: Brendan Schlauch (schlauch@rlf.com) and Paul N. Heath
                     (heath@rlf.com).

              PLEASE TAKE FURTHER NOTICE that any counterparty to an Executory
Contract or Unexpired Lease that fails to timely object to the proposed assumption of any
Executory Contract or Unexpired Lease shall be forever barred, estopped, and enjoined
from contesting the Debtors’ assumption of the applicable Executory Contract or Unexpired
Lease and from requesting payment of a Cure Amount that differs from the amounts paid


                                              3
             Case 22-11068-JTD        Doc 24029      Filed 08/30/24     Page 4 of 5




or proposed to be paid by the Debtors or the Wind Down Entities, in each case without the
need for any objection by the Debtors or the Wind Down Entities or any further notice to or
action, order, or approval of the Bankruptcy Court. The Wind Down Entities may settle any
dispute regarding a Cure Amount without any further notice to or action, order, or approval of the
Bankruptcy Court.

               PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled
a hearing to consider confirmation of the Plan, including the Debtors’ proposed assumption of
Executory Contracts and Unexpired Leases in connection with the Plan, beginning on October 7,
2024 at 10:00 a.m. prevailing Eastern Time (the “Confirmation Hearing”), which shall continue
to the extent necessary on such additional dates as the Bankruptcy Court may designate. The
Confirmation Hearing will be held before the Honorable Judge John T. Dorsey, United States
Bankruptcy Court for the District of Delaware, located at 824 Market Street, 5th Floor, Courtroom
5, Wilmington, Delaware 19801.

              PLEASE TAKE FURTHER NOTICE that assumption of any Executory
Contract or Unexpired Lease pursuant to the Plan, and payment of any applicable Cure
Amount shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control
or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
assumption. Any and all Proofs of Claim based upon Executory Contracts or Unexpired
Leases that have been assumed in the Chapter 11 Cases, including pursuant to the
Confirmation Order, shall be deemed disallowed and expunged as of the later of: (a) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such assumption; (b) the effective date of such assumption; or (c) the Effective
Date, in each case without the need for any objection by the Debtors or the Wind Down
Entities or any further notice to or action, order, or approval of the Bankruptcy Court.

                          Obtaining Copies of Relevant Documents

Copies of the Plan, the Plan Supplement, and the Solicitation Procedures Order, as well as other
documents filed in these Chapter 11 Cases, may be obtained for free by visiting the Debtors’
restructuring website, https://restructuring.ra.kroll.com/FTX/Home-Index, or for a fee via
PACER at: http://pacer.psc.uscourts.gov.




                                                4
          Case 22-11068-JTD   Doc 24029    Filed 08/30/24   Page 5 of 5




Dated: August 30, 2024         LANDIS RATH & COBB LLP
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                               Matthew B. McGuire (No. 4366)
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                               -and-

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                               Counsel for the Debtors and Debtors-in-Possession




                                       5
